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mfederico(2iocgas.com

Attorney for Defendant
COSTCO WHOLESALE CORPORATION


                         UNITED STATES DISTRICT COURT

                                DISTRICT OF NEVADA

                                          ***

MARIA DIAZ, an individual,            ) CASE NO.: 2:19-cv-01024-KJD-DJA
                                      )
                      Plaintiff,      )
                                      )
vs.                                   )
                                      )
COSTCO WHOLESALE CORPORATION,)
a foreign corporation; DOE EMPLOYEE; )
DOES I through XXX, inclusive and ROE )
BUSINESS ENTITIES I through XXX,      )
inclusive,                            )
                      Defendants.     )
                                     )

          STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between counsel for their

respective parties, that the above-captioned action COSTCO WHOLESALE CORPORATION

be dismissed with prejudice, each party to bear their own costs and attorney's fees; and

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       IT IS FURTHER STIPULATED that no trial date has been scheduled in this case. ber

 13, 2017, and the Calendar Call, currently set for November?, 2017, be vacated.

 DATED this     rrt day of Set/7(" Lr   , 2020. DATED this day of                  , 2020.

 LADAH LAW FIRM                               OLSON CANNON GORMLEY&
                                              STOBERSKI




CA13i, R. HOUSTON, ESQ.                       MICHAEL A. FEDERICO, ESQ.
Nevada Bar No.: 11161                         Nevada Bar No.: 005946
517 S. Third Street                           9950 West Cheyenne Avenue
Las Vegas, Nevada 89101                       Las Vegas, Nevada 89129
Attorney for Plaintiff                        Attorney for Defendant



                      ORDER OF DISMISSAL WITH PREJUDICE


        IT IS SO ORDERED this 9th day of          October             ,20 20




                                              DISTRICT COURT JUDGE


Submitted by:

OLSON CANNON GORMLEY & STOBERSKI




MICHAEL A. FEDERICO, ESQ.
Nevada Bar No.: 005946
9950 West Cheyenne Avenue
Las Vegas, Nevada 89129
Attorney for Defendant
COSTCO WHOLESALE CORPORATION


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         1          IT IS FURTHER STIPULATED that no trial date has been scheduled in this case.
         2
              DATED this day of               , 2020. DATED this 8th day of October, 2020.
         3
              LADAH LAW FIRM                             OLSON CANNON GORMLEY&
         4                                               STOBERSKI
         5
                                                         /s/ Michael A. Federico, Esq.
         6

         7   CARL R. HOUSTON, ESQ.                       MICHAEL A. FEDERICO, ESQ.
             Nevada Bar No.: 11161                       Nevada Bar No.: 005946
         8
             517 S. Third Street                         9950 West Cheyenne Avenue
         9   Las Vegas, Nevada 89101                     Las Vegas, Nevada 89129
             Attorney for Plaintiff                      Attorney for Defendant
     10

     11

     12                          ORDER OF DISMISSAL WITH PREJUDICE

     13
                    IT IS SO ORDERED this        day of                           ,20
    14

    15

    16
                                                         DISTRICT COURT JUDGE
    17

    18
             Submitted by:
0   19
             OLSON CANNON GORMLEY & STOBERSKI
    20

    21       /s/ Michael A. Federico, Esq.

    22       MICHAEL A. FEDERICO, ESQ.
             Nevada Bar No.: 005946
    23
             9950 West Cheyenne Avenue
    24       Las Vegas, Nevada 89129
             Attorney for Defendant
    25       COSTCO WHOLESALE CORPORATION
    26

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